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                  EXHIBIT B-106
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                   IN THE SUPERIOR COURT OF FULTON COUNTY

                                     STATE OF GEORGIA
                                                                                    FILED IN OFFICE

                                                                                        OCT
INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Eric Daniel Herschmann                        )


   CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEQ.

       Upon the petition ofFani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton: County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant tq O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that Eric Daniel Herschmann, born

    May 7, 1962, (hereinafter, "the Witness") is a necessary and material witness to the

    Special Purpose Grand Jury's investigation. The Court further finds that the Witness

    currently resides in Austin, Travis County, Texas.

 4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that from approximately August 3,

    2020, through January 21, 2021, the Witness served as a senior adviser to former

    President Donald Trump and was present for multiple meetings between former

    President Trump and others related to the 2020 election.

 5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that according to information made

    publicly available by the United States House of Representatives Select Committee to

    Investigate the January 6th Attack on the United States Capitol, the Witness testified

    to the Committee that had multiple conversations with John Eastman, Rudy Giuliani,
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   Sidney Powell, and others known to be associated with the Trump Campaign, related

   to their efforts to influence the results of the November 2020 elections in Georgia and

   elsewhere.

6. Based on the representations made by the State in the attached "Petition for

   Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that according to information made

   publicly available by the United States House of Representatives Select Committee to

   Investigate the January 6th Attack on the United States Capitol, the Witness testified

   to the Committee that on January 7, 2021, he had a heated conversation with John

   Eastman specifically concerning efforts in Georgia, at the conclusion of which the

   Witness told Eastman, "Get a great fing criminal defense lawyer. You're gonna need

   it."

7. Based on the representations made by the State in the attached "Petition for

   Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that according to the United States

   Senate Judiciary Majority Staff Report "Subverting Justice: How the Former

   President and His Allies Pressured DOJ to Overturn the 2020 Election," the Witness

   was present at a widely-reported meeting at the White House between former

   President Trump, former Acting Attorney General Jeffrey Rosen, former Acting

   United States Deputy Attorney General Richard Donoghue, former White House

   Counsel Pat Cipollone, and others, on January 3, 2021. The focus of the meeting was

   whether to fire Rosen and replace him with Jeffrey Clark, a Department of Justice

   attorney who had supported sending a letter from the Department of Justice to
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    Georgia Governor Brian Kemp and other high-ranking Georgia officials

    recommending the calling of a special legislative session in Georgia. Rosen was

    ultimately not fired, and the letter was ultimately not sent.

 8. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that according to media reports, the

    Witness was also present for a meeting at the White House on December 18, 2020,

    between former President Trump, Sidney Powell, Michael Flynn, and others known

    to be associated with the Trump Campaign to discuss topics including invoking

    martial law, seizing voting machines, and appointing Powell as a special counsel to

    investigate the 2020 election. According to media reports, the Witness was highly

    critical of the meeting.

 9. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness, based on his former

    position as a senior advisor to former President Trump, his relevant conversations

    with individuals known to be associated with the Trump Campaign, and his presence

    at multiple relevant meetings, is a necessary and material witness. The Witness

    possesses unique knowledge concerning the communications between himself, the

    Trump Campaign, and other known and unknown individuals involved in the multi-

    state, coordinated efforts to influence the results of the November 2020 election in

    Georgia and elsewhere. Finally, the Witness's anticipated testimony is essential in
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    that it is likely to reveal additional sources of information regarding the subject of this

    investigation.

10. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

11. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Tuesday, November 22, 2022, at 9:00 a.m, at the Superior

    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney reasonably

    anticipates that the Witness's testimony will not exceed one day.

 12. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 13. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states, while

    traveling to and from this Court for the purpose of testifying for this case.

 14. The State of Georgia is a participant in a reciprocal program providing for the

    securing of witnesses to testify in foreign jurisdictions which likewise provide for

    such methods of securing witnesses to testify in their courts.
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       15. This Certificate is made for the purpose of being presented to a judge of the District

           Court of Travis County, Texas, by the District Attorney of Travis County, Texas, or

           his duly authorized representative, who is proceeding at the request and on behalf of

           the Office of the Fulton County District Attorney.

      WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,

      This the {       day of October, 2022.




                                                     Hon. Robert 'c.I. Mc       cy
                                                     Superior Court of Fulton County
                                                     Atlanta Judicial Circuit
                                                     State of Georgia
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                    Exhibit A
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                   IN THE SUPERIOR COURT OF FULTON COUNTY
                           ATLANTA JUDICIAL CIRCUIT   .•··1, ·)2. _ Civ ,-.,~I ,t, ,,~,
                               STA'fE OF GEORGIA      ,:;<U:a,L, uf\ UJVV~              •
                                                              -~             F        D IN OFFICE
IN RE: REQUEST FOR
       SPECIAL PURPOSE
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                                                                   /
       GRAND JURY                                                  L .. ._ ___               _
               OIRDER APPROVING REQUEST FOR SPECIAL PURlPOSE
               GRAND JUlffl{ PURSUANT TO O.C.G.A. ~15-12-100,et seq.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Comt of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by 0.C.G.A. §15-12-IOO(b).

       IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.1,15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervisingjudge determines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when nonnal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws ofth.e

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

        Pursuant to O.C.G.A. § I 5-12-101(a), the Honorable Robert C. I. McBumey is hereby

assigned to supervise and assist the special purpose grand jury, a.Tldshall charge said special

purpose grand jury and receive its reports as provided by law.
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       This authorization ::;hallinclude the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendationsconcerning criminal prosecution as it shall see

fit. Furthermore, the provisions ofO.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grand jury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of c1iminalmatters that has accumulated as a

result of the COVID-19 Pandemic.

        IT IS FURTHER O...""'"":.....L'-'-'D~t
                                            this Order shall be filed in the Office of the Clerk of
                                    ·,I·.1    ' \
the Superior Court of Fulto Councy.~                \'-

                                                                          ,2022.
        SO ORDERED, TH\                      A~'3D7

                                     ~,i~
                                CHRISTOPRER S. BRASHER;@IIEF WDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
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                        Exhibit B
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                      OFFICEOF THE FULTONCOUNTYDISTRICTATTORNEY
                                 ATLANTAJUDICIALCIRCUIT
                              136PRYORSTREETSW,3RDFLOOR
                                       ATLANTA, GEORGIA30303
ffe;nl T.6J;J,r/i;,j                                                            TELEPHONE404-612-4639
DistrictAttorney


                                                                               tDt2-·- f.X- DODD!?
     The Honorable Christopher S. Brasher
     Chief Judge, Fulton County Superior Court                                   FILED IN OFFICE
     Fulton County Courthouse                                                                            J) ,
     185 Central Avenue SW, Suite T-8905
     Atlanta, Georgia 30303

     January 20, 2022

     Dear Chief Judge Brasher:

     I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
     Office has received information indicating a reasonable probability that the State of Georgia's
     administration of elections in 2020, including the State's election of the President of the United
     States, was subject to possible criminal disruptions. Our office has also learned that individuals
     associated with these disruptions have contacted other agencies empowered to investigate this
     matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
     States Attorney's Office for the Northern District of Georgia,leaving this office as the sole
     agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
     result, our office has opened an investigation into any coordinated attempts to unlawfully alter
     the outcome of the 2020 elections in this state.

     We have made efforts to interview multiple witnesses and gather evidence, and a significant
     number of witnesses and prospective witnesses have refused to cooperate with the investigation
     absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
     Brad Raffensperger, an essential witness to the investigation,has indicated that he will not
     participate in an interview or otherwise offer evidence until he is presented with a subpoena by
     my office. Please see Exhibit A, attached to this letter.

    Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
    to O.C.G.A. § 15-12-100 et. seq., that a special purpose grandjury be impaneled for the purpose
    of investigating the facts and circumstances relating directly or indirectly to possible attempts to
    disruptthe lawful administration of the 2020 elections in the State of Georgia. Specifically, a
    special purpose grand jury, which wiUnot have the authority to return an indictment but may
    make recommendations concerning criminal prosecution as it shall see fit, is needed for three
    reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
    required in order to accomplish its investigation, which will likely exceed a normal grand jury
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      term; second, the special purpose grandjury would be empoweredto reviewthis matter and this
      matter only, with an investigatory focus appropriateto the complexityof the facts and
      circumstancesinvolved; and third, the sitting grandjury would not be required to attempt to
      address this matter in addition to their normal duties.

      Additionally, I am requesting that, pursuantto O.C.G.A. § 15-12-101,a Fulton County Superior
      Court Judge be assigned to assist and supervisethe special purpose grand jury in carrying out its
      investigation and duties.

      I have attached a proposed order impanelingthe special purpose grandjury for the consideration
      of the Court.

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 '-rnstri.ct     Attorney, Atlanta Judicial Circuit

      Exhibit A: Transcript of October 31, 2021 episode of lvfeetthe Presson NBC News at 26:04
      (video archived at https://www.youtube.com/watch?v=B7lcBRPgt9k)
      ExhibitB: ProposedOrder

      cc:
      The Honorable K1"'11berly
                              M. Esmond Adams
      The Honorable Jane C. Barwick
      The Honorable Rachelle Carnesdale
      TheHonorableThomasA. Cox,Jr.
      The Honorable Eric Dunaway
      The Honorable Charles M. Eaton, Jr.
      The Honorable Belinda E. Edwards
      The Honorable Kelly Lee Ellerbe
      The Honorable Kevin M. Farmer
      The Honorable Ural Glanville
      The Honorable Shakura L. Ingram
      The Honorable Rachel R. Krause
      The Honorable Melynee Leftridge
      TheHonorable Robert C.I. :rvicBumey
      TheHonorable Henry M. Newkirk
      The Honorable Emily K. Richardson
      The Honorable Craig L. Schwall, Sr.
      The Honorable Paige Reese Whitaker
      The Honorable Shermela J. 'Williams
      Fulton County Clerk of Superior Court Cathelene ,:Tina" Robinson
